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                  EXHIBIT 11
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  From:          James Kolenich
  To:            Yotam Barkai; Seguin L. Strohmeier
  Subject:       Jason Kessler discovery response (partial production)
  Date:          Wednesday, April 11, 2018 4:04:23 PM
  Attachments:   kesslerpacket.pdf


  Please find attached Jason Kessler's discovery responses and partial production of
  documents. As the event organizer,Mr. Kessler is in possession of, and has provided
  an enormous amount of responsive documents plus audio and video. Accordingly,
  Kessler will not be able to fully complete production of documents until next week.

  The attached docs are produced as highly confidential under the confidentiality
  agreement governing this case. In addition I will send two zip files today, also
  protected as highly confidential. The zip files are 1) text messages and 2) the archive
  of Mr. Kessler's deleted facebook page.

  --
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